101 F.3d 714
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Morris HOFFMAN, Plaintiff-Appellant,v.WISNER CLASSIC MANUFACTURING CO., INC., Defendant-Appellee.
    No. 96-1443.
    United States Court of Appeals, Federal Circuit.
    Nov. 01, 1996.
    
      1
      APPEAL DISMISSED.
    
    ON MOTION
    ORDER
    
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      Upon consideration of the unopposed motion of Wisner Classic Manufacturing Co., Inc. to dismiss Morris Hoffman's appeal for lack of jurisdiction,
    
    IT IS ORDERED THAT:
    
      3
      (1) Wisner Classic's motion to dismiss is granted.
    
    
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      (2) Each side shall bear its own costs.
    
    